         Case 2:24-cv-08521-BRM-CLW                     Document 10                 Filed 08/27/24     Page 1 of 1 PageID: 210
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                                                                                                               20240820103355
AO ,140 (Rev. 06/12) Summons in a Civil Action                   RETURN OF SERVICE


SERVICE OF:              ORDERS
EFFECTED (1) BY ME            Lui 5 llk Su r
TITLE:                   PROCESS SERVER
                                                                                      DATE. 812112024 4107:38 PM


CHECK ONE BOX BELOW TO INDICATE APPROPRIATE METHOD OF SERVICE

[ ] Served personally upon the defendant
BINANCE HOLDINGS, LTD. D/B/A BINANCE HOLDINGS, LTD, D/B/A BINANCE

Place where served:

252 NW 29TH STREET 9TH FLOOR l\,llAMl FL 33127

I X] Left copies thereof al the defendant's dwelling house or place of business with a person of suitable age and discretion then residing
therein. Name of person with whom the summons and complaint were left:

RICARDO CURIEL
Relationship to defendant CLERK

Description of Person Accepting Service:

SEX:M AGE:21-35 HEIGHT:5'4'-5'8"               WEIGHT:161-20018S. SKIN:WHITE HAIR:BLACK OTHER

[X] To the best of my knowledge, said person was not engaged in the U.S. Military at the time of service




                                                         STATEMENT OF SERVER

 TRAVEL$                                                SERVICES      $-,-                                  TOTAL   $-.-

           -.-                                          DECLARATION OF SERVER

         I declare under penalty of perjury under the laws of the United States of America that the foregoing information contained in
                                      this Return of Service and Statement of Server is true and correct
                                                     Docusign Courl       pproved      nature

DATE     V 1Lt+ ,r5z'.1                                          Lv         /,Yk&a                   L,S
                                                                      I               .t-\-
                                                 SIGNATURE OF
                                                 GUARANTEED SUBP             CE, INC
                                                        2009 tv'toRRl    NUE
                                                           UNION, NJ 07083




  ATTORNEY:       ERIC J. WARNER. ESQ.
  PLAINTIFF:      GONZALEZ
  DEFENDANT       BAM TRADING SERVICES, INC,, ET AL
  VENUE:          DISTRICT
  DOCKET:         2 24 CV 08521
  COMMENT:
